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             EXHIBIT S
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

STATE OF NEW JERSEY, et al.,            :
                                        :
       Plaintiffs,
                                        :
  v.                                    :
                                        :
                                        :      Civil Action No.: ___________
                                                                 25-cv-10139
DONALD J. TRUMP, et al.,
                                        :
       Defendants.                      :
                                        :
                                        :
                                        :
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                         DECLARATION OF YVETTE GAUTHIER

       I, Yvette Gauthier, hereby declare:

1. I am State Registrar of Vital Records of the Connecticut Department of Public Health, a

   position I have held since 2022. As State Registrar of Vital Records, I am responsible for the

   supervision of the State-wide vital records data collection system. Prior to holding this

   position, I was the Health Program Supervisor of the Office of Vital Records.

2. As Registrar of Vital Records, I have personal knowledge of the matters set forth below, or

   have knowledge of the matters based on my review of information and records gathered by

   my staff.

                             Connecticut Department of Public Health

3. Connecticut Department of Public Health’s mission is to protect and improve the health and

   safety of the people of Connecticut by assuring the conditions in which people can be

   healthy; preventing disease, injury and disability, and promoting the equal enjoyment of the

   highest attainable standard of health, which is a human right and a priority of the State.

   To support that goal, Connecticut Department of Public Health performs many functions,

   including regulating healthcare facilities and overseeing the Office of Vital Records (OVR),

   which facilitates the registration of vital events such as births.

                           Registration and Birth Certificates of Newborns

4. Healthcare facilities coordinate with OVR to collect information to register a child’s birth.

5. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

   obligated to register the birth. They must provide the newborn’s parents with a Birth

   Certificate Worksheet that asks for several pieces of information, including the parents’ place




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   of birth and Social Security Numbers (SSNs). The Worksheet does not inquire about the

   parents’ citizenship or immigration status.

6. If the parents do not have SSNs, or do not wish to share them, they can leave that field blank.

   Their omission of that information does not affect the newborn’s ability to obtain a birth

   certificate.

7. After the newborn’s parents complete and sign the Worksheet, hospital staff enter the

   information from the Worksheet into an electronic birth system (ConnVRS) maintained by

   OVR. Local Registrars in the town of Birth then create and register the birth certificate with

   the State. Neither OVR nor Local Registrars have a duty to verify the accuracy of the

   information submitted by the parent(s) on the Worksheet.

8. A newborn’s completed birth certificate does not indicate whether the parents have an SSN.

   The only information on the parents is the mother’s legal name and previous name, the

   father’s full name (if provided), their places and dates of birth, mother’s residence and

   mailing address(es). Currently, it is not possible to determine a foreign-born parent’s

   citizenship or immigration status from their child’s birth certificate.

9. If the newborn registration process had to be amended to require the Department to verify the

   parents’ citizenship and/or immigration status, this would impose substantial administrative

   burdens on the Department. Assuming this burden would further lead to delays in registration

   and issuance of the newborn’s birth certificate.

10. Connecticut currently receives funding from the National Center for Health Statistics

   (NCHS), which is a unit of the Centers for Disease Control and Prevention, for sharing its

   statistical birth data with NCHS. NCHS annually allocates funds to states based on the

   number and quality of birth records provided. If the births of children born to two foreign



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   born parents were not recorded, the State estimates that it would lose approximately 20% of

   its NCHS funding.

11. The State received $341,280 from NCHS for its 2023 birth records. A loss of 20% in funding

   would total $68,256.

                        Application for Social Security Number of Newborns

12. While registering a newborn for a birth certificate at a healthcare facility, parents may also

   complete an application for an SSN for the newborn through a Social Security

   Administration (SSA) program called Enumeration at Birth (EAB).

13. The EAB process is voluntary for families, but according to SSA, about 99% of SSNs for

   infants are assigned through this program.

14. Under the EAB process, the healthcare facility provides parents with an application form to

   request an SSN for their child.

15. The EAB application asks for the parents’ SSNs. Parents born outside the United States can

   apply for and receive an SSN for their child without including their own SSNs on the

   application. Currently, because children born in the United States are U.S. citizens, they are

   eligible for SSNs regardless of their parents’ citizenship or immigration status.

16. After a healthcare facility receives a completed SSN application, it submits electronically the

   information from the application and a request for an SSN to OVR, which then transmits that

   information and request to SSA. OVR only sends EAB records to SSA for enumeration of

   infants born within the past 12 months. OVR does not have a duty to verify the information

   submitted by the parent(s) on the EAB application.

17. Connecticut Department of Public Health receives federal funding from the SSA EAB

   process on a quarterly basis for each SSN that is issued through the EAB process. The



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   Department receives $4.82 per SSN issued through the EAB process, or approximately

   $45,000 per quarter. OVR uses those funds to support the payment of administrative and

   operational costs.

18. Assuming that SSA would not issue an SSN to a child born in the United States if the child’s

   parents were undocumented, OVR estimates approximately 7,400 fewer SSNs annually

   would be issued. This estimate is based on the number of births for which the parents

   identified a foreign place of birth on the Birth Certificate Worksheet in 2023 (7,380 births)

   and in 2024 (7,704 births).

19. If approximately 7,400 fewer SSNs were issued through the EAB process due to the

   revocation of birthright citizenship, this would result in an annual loss of EAB funding to the

   Connecticut Department of Public Health of approximately $35,668.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this ____ day of January, 2025, in _____________________.



                                                      _______________________________

                                                      Yvette Gauthier, State Registrar of Vital

                                                      Records

                                                      Connecticut Department of Public

                                                      Health/Office of Vital Records




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